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 2   Sacramento, California 95814
     Telephone: (916) 422-4022
 3
     Attorney for Defendant Alvaro Gomez
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 5
 6                       IN THE UNITED STATES DISTRICT COURT
 7                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
                                                )   Case No.: 2:07-CR-00248-07-WBS
 9   UNITED STATES OF AMERICA,                  )
                                                )   STIPULATION AND ORDER TO
10                Plaintiff,                    )   CONTINUE JUDGMENT AND
                                                )   SENTENCING
11       v.                                     )
     ALVARO GOMEZ,                              )   Date: June 11, 2012
12                                              )   Time: 9:30 a.m.
                  Defendant.                    )   Judge: Hon. William B. Shubb
13                                              )
14
15         IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
16   Judgment and Sentencing scheduled for April 30, 2012 at 9:00 a.m. is continued to June
17   11, 2012 at 9:30a.m. in the same courtroom. Jason Hitt, Assistant United States
18   Attorney, and Thomas A. Johnson, Defendant’s attorney, both agree to this continuance.
19   The Probation Officer has also been informed and does not oppose a continuance.
20
21   IT IS SO STIPULATED.
22
23   DATED: April 27, 2012                   By:     /s/ Thomas A. Johnson_____
                                                     THOMAS A. JOHNSON
24                                                   Attorney for Defendant
                                                     ALVARO GOMEZ
25
26   DATED: April 27, 2012                           BENJAMIN WAGNER
                                                     United States Attorney
27
                                              By:    /s/ Thomas A. Johnson for_
28                                                   Jason Hitt
                                                     Assistant U.S. Attorney


                               STIPULATION AND ORDER              -1-
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 1   IT IS SO ORDERED.
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     Dated: April 30, 2012
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                             STIPULATION AND ORDER       -2-
